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                                MORVILLO ABRAMOWITZ GRAND IASON & ANELLO                   P. C.
EL KA N ABRAMOW :Tz                                                                                                               COUNSEL
                                                      565 FIFTH AVENUE
RICHARD F' . AL BERT                                                                                                 JASMINE JUTEAU
                                                  NEW YORK, NEW YORK 10017                                        CURT IS B . L.EI":"NER
ROBERT .J . ANELLO•
LAWRENCE S . BADER                                     1212) 856-9600                                          DANIEL F. WACHTELL
BEN .J AM IN S . FISCHER                            FAX: 1212) 856-9494
                                                                                                              ROBERT G. MORVILLO
CATHER iNE M . FO T I
                                                                                                                                  la38 · i!OII
PAUL R . GRAND
LAWRENCE JA S ON
                                                          www.maglaw.com                                    MICHAEL C . S ILBERBERG
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BR IAN A . J ACOBS                                                                                               JOHN J . TIGUE , J R .
..: UOITH :... . MOGUL
                                                    WRITER'S CONTACT INFORMATION
J OD ! MISi-fER PEIK IN
ROBER T tl. . RADIC K •                                 (212) 880-9500                             •AL SO   ADMITT~O   IN WA S HING"!" ON , D .C .

J ONATHAN 5 . S AC K••                                                                          • •A L S O A DMIT T ED IN C ONN£ C T !C UT

EDW ... RD M. S P IRO                              eabramowitz@maglaw.com
J EREM Y H . TEMK IN
RICHARD D . WE INBERG



                                                          July 12, 2018


           By Facsimile and ECF
           The Honorable Petrese B. Tucker
           United States District Judge
           United States District Court
           Eastern District of Pennsylvania
           601 Market Street
           Philadelphia, PA 191 06

                                 Re:   United States v. Devos Ltd eta/., 14-cr-574 (PBT)

           Dear Judge Tucker:

                   As Your Honor may recall, on May 24, 2018, we submitted a letter memorandum to the
           Court regarding a recent Second Circuit decision in United States v. Litvak, 889 F.3d 56 (2d Cir.
           20 18) (the "May 24 Letter"), in which the court of appeals reversed a conviction because lay
           "point of view" testimony- similar to that which was admitted during the trial in above-
           referenced matter (the "Devos trial")- was improperly admitted. On behalf of all Defendants,
           we now write to notify the Court of a recent district court decision that shows the impact of the
           Litvak opinion- namely, United States v. Shapiro , No. 3:15-CR-155 (RNC), 2018 WL 2694440
           (D. Conn. June 5, 2018).

                   In Shapiro, Judge Chatigny of the United States District Court for the District of
           Connecticut vacated a criminal conviction because he had permitted a lay witness for the
           prosecution to testify to the witness's subjective understanding of the defendant's legal
           obligations -a ruling that Litvak revealed to be error. Shapiro, 2018 WL 2694440, at *4. The
           decision illustrates that the analysis explained in Litvak requires a new trial (at minimum), as
           Defendants urge. 1


                          1
                      As with our May 24, 2018 letter, because this submission addresses new authority that
           supports the arguments advanced in a previously submitted memorandum of law, our arguments
           are set forth herein as a letter memorandum. However, if the Court prefers that we convert this
           letter into a formal supplemental memorandum of law, we will do so promptly.
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MORVILLO ABRAMOWITZ GRAND IASON     & ANELLO F! C.

   The Honorable Petrese B. Tucker
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           As we discussed in our letter of May 24, 2018, the Second Circuit in Litvak vacated the
   defendant's conviction because a lay witness had improperly been permitted to testify as to his
   subjective opinion regarding the nature of the defendant's legal obligations. The circuit held that
   the witness's views were both irrelevant and prejudicial. May 24 Letter at 1-3.

          As in Litvak, a key issue in Shapiro was whether the defendant was a fiduciary of the
   witness, or was merely an arms-length negotiator. Although the witness at issue did not
   expressly testify that the defendant owed him a duty of honesty, his testimony "implied" and
   "suggested" the existence of such a duty when, in fact, no duty of honesty existed under the
   circumstances. Shapiro , 2018 WL 2694440, at *5. Because "there [was] a distinct risk that the
   jury was influenced by [the incorrect] testimony," Judge Chatigny determined that the conviction
   could not stand. Id at *7.

           The same analysis applies here. In the Devos trial, the testimony in which sales
   representatives and customers offered their lay opinions about the contractual obligations that
   Devos owed to its customers struck at the very heart of the defense; improperly bolstered the
   government's claim that the Defendants had not acted in good faith; and was fundamentally
   incorrect- as the expert testimony of an esteemed law professor from the University of
   Pennsylvania would have demonstrated. May 24 Letter at 3-4. Moreover, the government not
   only invited the error by persuading the Court to exclude the defense's expert testimony
   regarding contract law, but then compounded the prejudice by persuading the Court not to
   provide the jury with any instructions on contract law at all. See May 24 Letter at n.2. Thus left
   without expert testimony or legal instructions from the Court, the jury in the Devos trial could
   not help but have been "influenced by testimony" that was improperly admitted. Indeed, under
   the circumstances, the jury was left with no choice but to erroneously conclude that Defendants
   owed a contractual duty to customers with respect to indates- a conclusion that undoubtedly
   impacted the jury's determination ofboth materiality and intent. See Shapiro, 2018 WL
   2694440, at *7.

           Because the evidence was insufficient to convict the Defendants either with or without
   the improperly admitted testimony, we adhere to our earlier request that the Court grant a
   judgment of acquittal pursuant to Federal Rule of Criminal Procedure 29( c). In the alternative,
   and for the foregoing reasons, the Defendants respectfully submit that the Court should apply the
   Litvak analysis as Judge Chatigny did in Shapiro and order a new trial pursuant to Federal Rule
   of Criminal Procedure 33.

                                                Respectfully submitted,

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                                                Elkan Abramowitz

   cc:    Assistant U.S. Attorneys Patrick Murray and Nancy Rue (by ECF)
          All Defense Counsel (by ECF)
